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                                  1
                                                                  UNITED STATES DISTRICT COURT
                                  2                              CENTRAL DISTRICT OF CALIFORNIA

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                                  5       Robert Anderson, et al.,
                                  6                                                 Case No. 2:21-cv-09102-VAP-(PDx)
                                                          Plaintiffs,
                                  7                       v.                              Order GRANTING
                                  8       The United States of America,
                                                                                    Motion to Dismiss (Doc. No. 23)
                                  9                      Defendant.
                                 10
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                                 12         Defendant the United States of America (“Defendant”) filed a Motion
                                 13   to Dismiss (“Motion”) on June 2, 2022. (Doc. No. 23.) Plaintiffs Robert
                                 14   Anderson et al. (“Plaintiffs”) opposed the Motion on July 25, 2022. (Doc.
                                 15   No. 32.) Defendant replied on August 1, 2022. (Doc. No. 33.)
                                 16
                                 17         After considering all papers filed in support of, and in opposition to,
                                 18   the Motion, the Court GRANTS the Motion to Dismiss.
                                 19
                                 20                               I.    BACKGROUND
                                 21         Plaintiffs lived in, or around, former George Air Force Base located in
                                 22   Victorville, California. (SAC ¶¶ 5-54, 56.) According to Plaintiffs, during
                                 23   their time at George Air Force Base they were exposed to toxic, hazardous,
                                 24   and radioactive waste that caused Plaintiffs to suffer adverse health
                                 25   consequences. (Id. ¶¶ 58-59, 75-77.) Accordingly, Plaintiffs assert a claim
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                                  1   for negligence against Defendant. (Id. ¶¶ 80-90.) Defendant filed a motion
                                  2   to dismiss the claim. (Doc. No. 23.)
                                  3
                                  4                              II.    LEGAL STANDARD
                                  5     A. Motion to Dismiss Pursuant to Rule 12(b)(1)
                                  6          Federal Rules of Civil Procedure (12)(b)(1) requires a court to dismiss
                                  7   a claim if the court lacks subject matter jurisdiction to adjudicate the claim.
                                  8   A facial attack to subject matter jurisdiction is based solely on the
                                  9   allegations in the complaint and the documents attached to the complaint.
                                 10   Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004). A
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                                 11   factual attack, in contrast, is one in which subject matter jurisdiction is
                                 12   challenged as a matter of fact and is based on evidence outside of the
                                 13   pleadings. Id. at 1039. Where a party challenges the substance of
                                 14   jurisdictional allegations, the court does not presume the factual allegations
                                 15   to be true and may consider evidence such as affidavits and testimony to
                                 16   resolve factual disputes regarding jurisdiction. McCarthy v. United States,
                                 17   850 F.2d 558, 560 (9th Cir. 1988).
                                 18
                                 19          To survive a motion to dismiss under Rule 12(b)(1), the plaintiff bears
                                 20   the burden of proving that the Court has jurisdiction to hear his claims. See
                                 21   Lujan v. Def. of Wildlife, 504 U.S. 555, 561 (1992). A court has an
                                 22   “affirmative obligation to ensure that it is acting within the scope of its
                                 23   jurisdictional authority.” Grand Lodge of Fraternal Order of Police v.
                                 24   Ashcroft, 185 F. Supp. 2d 9, 13 (D.D.C. 2001). For this reason, “the
                                 25   [p]laintiff’s factual allegations in the complaint . . . will bear closer scrutiny in
                                 26   resolving a 12(b)(1) motion than in resolving a 12(b)(6) motion for failure to

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                                  1   state a claim.” Id. at 13-14 (internal quotation marks and citation omitted)
                                  2   (alteration in original).
                                  3
                                  4     B. Motion to Dismiss Pursuant to Rule 12(b)(6)
                                  5          Federal Rule of Civil Procedure 12(b)(6) allows a party to bring a
                                  6   motion to dismiss for failure to state a claim upon which relief can be
                                  7   granted. Rule 12(b)(6) is read along with Rule 8(a), which requires a short,
                                  8   plain statement upon which a pleading shows entitlement to relief. Fed. R.
                                  9   Civ. P. 8(a)(2); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). When
                                 10   evaluating a Rule 12(b)(6) motion, a court must accept all material
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                                 11   allegations in the complaint—as well as any reasonable inferences to be
                                 12   drawn from them—as true and construe them in the light most favorable to
                                 13   the non-moving party. See Doe v. United States, 419 F.3d 1058, 1062 (9th
                                 14   Cir. 2005); ARC Ecology v. U.S. Dep’t of Air Force, 411 F.3d 1092, 1096 (9th
                                 15   Cir. 2005); Moyo v. Gomez, 32 F.3d 1382, 1384 (9th Cir. 1994). “The court
                                 16   need not accept as true, however, allegations that contradict facts that may
                                 17   be judicially noticed by the court.” Schwarz v. United States, 234 F.3d 428,
                                 18   435 (9th Cir. 2000).
                                 19
                                 20          To survive a motion to dismiss, a plaintiff must allege “enough facts to
                                 21   state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at
                                 22   570; Ashcroft v. Iqbal, 556 U.S. 662 (2009). “The plausibility standard is not
                                 23   akin to a ‘probability requirement,’ but it asks for more than a sheer
                                 24   possibility that a defendant has acted unlawfully. Where a complaint pleads
                                 25   facts that are ‘merely consistent with’ a defendant’s liability, it stops short of
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                                  1   the line between possibility and plausibility of ‘entitlement to relief.’” Iqbal,
                                  2   556 U.S. at 678 (quoting Twombly, 550 U.S. at 556).
                                  3
                                  4         Although the scope of review is limited to the contents of the
                                  5   complaint, the Court may also consider exhibits submitted with the
                                  6   complaint, Hal Roach Studios, Inc. v. Richard Feiner & Co., 896 F.2d 1542,
                                  7   1555 n.19 (9th Cir. 1990), and “take judicial notice of matters of public
                                  8   record outside the pleadings,” Mir v. Little Co. of Mary Hosp., 844 F.2d 646,
                                  9   649 (9th Cir. 1988).
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                                 11                                 III.   DISCUSSION
                                 12         Defendant argues that Plaintiffs’ claim fails as they cannot establish
                                 13   subject matter jurisdiction or state a valid claim. (Motion at 1-3.) According
                                 14   to Defendant, the Court lacks subject matter jurisdiction as the Federal Tort
                                 15   Claims Act’s (“FTCA”) discretionary function exception bars Plaintiffs’ claim.
                                 16   (Id. at 5-16.) Defendant also contends that the Feres v. United States
                                 17   doctrine bars Plaintiffs F.V.’s and M.V.’s claim as their injuries are incident to
                                 18   their father’s military service. (Id. at 16-20.) Finally, Defendant avers that
                                 19   Plaintiffs fail to allege facts sufficient to establish a claim and that granting
                                 20   leave to amend would be futile. (Id. at 20-25.) The Court first addresses the
                                 21   FTCA.
                                 22
                                 23     A. FTCA’s Discretionary Function Exception
                                 24         Defendant contends that, because its policies are discretionary, and
                                 25   that discretion is grounded in policy considerations, the FTCA bars Plaintiffs’
                                 26   negligence claim. (Motion at 8-16.) The Court agrees.

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                                  2         The United States has sovereign immunity unless it waives its
                                  3   immunity from suit. See United States v. Orleans, 425 U.S. 807, 814
                                  4   (1976). “The FTCA permits private suits against the United States for
                                  5   damages for loss of property, injury, or death caused by a government
                                  6   employee's negligence.” Lam v. United States, 979 F.3d 665, 972 (9th Cir.
                                  7   2020). The Discretionary Function Exception (“DFE”), however, exempts
                                  8   the United States from suit if a claim is “based upon the exercise or
                                  9   performance or the failure to exercise or perform a discretionary function or
                                 10   duty on the part of a federal agency or an employee of the Government,
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                                 11   whether or not the discretion involved be abused.” 28 U.S.C. § 2680(a).
                                 12
                                 13         The Supreme Court created a two-part test, the Berkovitsz/Gauvert
                                 14   test, “to determine the types of discretionary acts covered by the DFE.”
                                 15   Lam, 979 F.3d at 673; see also Berkovitz v. United States, 486 U.S. 531
                                 16   (1988); United States v. Gaubert, 499 U.S. 315 (1991). First, “conduct
                                 17   cannot be discretionary unless it involves an element of judgment or
                                 18   choice.” Berkovitz, 486 U.S. at 536. And second, the court must decide if
                                 19   “that judgment is of the kind that the discretionary function exception was
                                 20   designed to shield.” Id. Indeed, there is “a strong presumption that a
                                 21   discretionary act authorized by the regulation involves consideration of the
                                 22   same policies which led to the promulgation of the regulations.” Gaubert,
                                 23   499 U.S. at 324; see also Chadd v. United States, 794 F.3d 1104, 1104 (9th
                                 24   Cir. 2015) (same).
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                                  1         Plaintiffs here concede, as they do not argue the issue, that the
                                  2   Government’s actions are discretionary because no statute, regulation, or
                                  3   policy “prescribes a course of action for an employee to follow.” Berkovitz,
                                  4   486 U.S. at 536; see also Doe v. Holy See, 557 F.3d 1066, 1084 (9th Cir.
                                  5   2009) (“Yet nowhere does Doe allege the existence of a policy that is
                                  6   ‘specific and mandatory’ on the Holy See. He does not state the terms of
                                  7   this alleged policy, or describe any documents, promulgations, or orders
                                  8   embodying it.”) (emphasis in original); Ard v. F.D.I.C., 770 F. Supp. 2d 1029,
                                  9   1036 (C.D. Cal. 2011) (“Plaintiffs have not identified, nor can the court
                                 10   locate, any federal statute, regulation, or policy that applies to the conduct
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                                 11   challenged in this action”). Plaintiffs, however, contend that the second
                                 12   prong of the Berkovitsz/Gauvert test fails because national security
                                 13   considerations are not implicated, and the Court must consider pertinent
                                 14   safety considerations in this case. (Opp’n at 6-11.)
                                 15
                                 16         Plaintiffs’ argument about national security considerations is
                                 17   inapposite. (Opp’n at 6-8.) The Government need not assert national
                                 18   security considerations for the DFE to apply in this case. See United States
                                 19   v. Varig Airlines, 467 U.S. 797, 814 (1984) (“Congress wished to prevent
                                 20   judicial ‘second-guessing’ of legislative and administrative decisions
                                 21   grounded in social, economic, and political policy”).
                                 22
                                 23         Moreover, Plaintiffs’ reliance on Waverly View Investors, LLC v. United
                                 24   States, 79 F. Supp. 3d 569 (D. Md. 2015) and In Re Consol. U.S.
                                 25   Atmospheric Testing Litig., (“Atmospheric Testing”) 820 F.2d 982 (9th Cir.
                                 26   1987) is misplaced as both cases found the DFE barred the FTCA claims.

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                                  1   The Waverly court found that characterizing the Army’s waste disposal as
                                  2   “mere ‘garden-variety housekeeping’ ignores the factors the Army would
                                  3   have had to consider as it was operating Fort Detrick's biological warfare
                                  4   program, including national security, resource constraints, and
                                  5   environmental impact.” 79 F. Supp. 3d at 575. In Atmospheric Testing, the
                                  6   court found that “any decision whether to issue warnings to thousands of
                                  7   test participants of possibly life-threatening dangers and to provide them
                                  8   with appropriate examinations and counseling calls for the exercise of
                                  9   judgment and discretion at high levels of government.” 820 F.2d at 997.
                                 10   Plaintiffs here similarly ignore the Air Force’s complex military decisions
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                                 11   regarding waste disposal, including disposal of solid radioactive waste by
                                 12   burial, and its warning of contamination of such disposal. See Atmospheric
                                 13   Testing, 820 F.2d at 998 (“The conclusion is inescapable that every aspect
                                 14   of a warning program is a matter that falls within the discretionary function
                                 15   exception . . .”).
                                 16
                                 17          Plaintiffs’ argument about safety considerations also lacks merit.
                                 18   (Opp’n at 8-11.) Although it is true that the Government’s protection under
                                 19   DFE for waste disposal is not boundless, Defendant correctly asserts that
                                 20   Plaintiffs’ cases cited for this proposition do not involve military decisions
                                 21   about waste disposal. See Andrulonis v. United States, 952 F.2d 652, 655
                                 22   (2nd Cir. 1991) (holding in a non-military waste disposal case that federal
                                 23   researcher’s decision not to warn laboratory workers of hazards related to
                                 24   experiments involving the rabies vaccine was not grounded in policy);
                                 25   Summers v. United States, 905 F.2d 1212 (9th Cir. 1990) (holding in a non-
                                 26   military waste disposal case that Park Service's failure to provide warnings

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                                  1   about the potential danger of stepping on hot coals on a public beach was
                                  2   not grounded in policy). In fact, cases have found that the military’s disposal
                                  3   of the radioactive material in this case, like Cesium-137, Thorium-232, and
                                  4   Uranium-238, as well as trichloroethylene (“TCE”), which is used to de-
                                  5   grease and clean aircraft, is grounded in policy. See Savary v. United
                                  6   States, 205 F.3d 1352, at *3-4 (9th Cir. 1999) (“With respect to the first,
                                  7   namely design for waste disposal systems, this court has repeatedly found
                                  8   claims based upon design choice to be barred by the discretionary function
                                  9   exception.”); Atmospheric Testing, 820 F.2d at 997 (“The program required
                                 10   difficult judgments balancing the magnitude of the risk from radiation
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                                 11   exposure—of which there was only fragmentary knowledge—against the
                                 12   risks and burdens of a public program. Those risks included the potential
                                 13   consequences of creating public anxiety and the health hazards inherent in
                                 14   the medical responses to the warning.”); City of Lincoln v. United States,
                                 15   283 F. Supp. 3d 891 904 (E.D. Cal. 2017) (noting that “[n]umerous courts,
                                 16   analyzing the military's allocation of resources involving waste management
                                 17   during the 1950s and '60s, have found those decisions susceptible to policy
                                 18   analysis”) (collecting cases).
                                 19
                                 20         Finally, Plaintiffs’ contention that it is unclear “whether personnel . . .
                                 21   ever actually considered and balanced the policy interests” at stake, (Opp’n
                                 22   at 11), is a misreading of the Berkovitsz/Gauvert test. The Supreme Court
                                 23   has made it clear that the actor’s decision making is inapposite when
                                 24   considering whether the discretionary function exception applies. See Varig
                                 25   Airlines, 467 U.S. at, 813 (“it is the nature of the conduct, rather than the
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                                  1   status of the actor, that governs whether the discretionary function exception
                                  2   applies in a given case.”).
                                  3
                                  4         Accordingly, “[b]ecause [the Air Force’s] policies are not mandatory
                                  5   and allow for discretion, and that discretion is susceptible to policy analysis,”
                                  6   the discretionary exception bars Plaintiffs’ claim under the FTCA. Lam, 979
                                  7   F.3d at 671; see also Gaubert, 499 U.S. at 323 (holding the DFE is designed
                                  8   to “prevent judicial ‘second-guessing’ of legislative and administrative
                                  9   decisions grounded in social, economic and political policy through the
                                 10   medium of an action in tort.”).
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                                 11
                                 12         As the Court lacks subject matter jurisdiction over Plaintiffs’ claim, the
                                 13   Court need not address Defendant’s remaining argument to dismiss the
                                 14   action.
                                 15
                                 16                                 IV.   CONCLUSION
                                 17         For the reasons stated above, the Court GRANTS Defendant’s
                                 18   Motion to Dismiss without leave to amend and with prejudice.
                                 19
                                 20
                                 21   IT IS SO ORDERED.
                                 22
                                 23       Dated:     8/18/22
                                 24                                                        Virginia A. Phillips
                                                                                      United States District Judge
                                 25
                                 26

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